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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

UMG Recordings, Inc., et al.            §
                                        §
vs.                                     §     NO: AU:17-CV-00365-DAE
                                        §
Grande Communications Networks          §
LLC, et la.


                       ORDER WITHDRAWING REFERRAL

         The matter before the Court is the status of this case. It is the Order of
this Court that the order referring this case to United States Magistrate Judge
Andrew Austin (dkt 183) is hereby WITHDRAWN.
         All pending motions (dkt no. 308, 309, 310, 311, 312, 313, 314, 315,
316, 317, 318, 319, 320, 321, 322, 323, 324, 325, 326, 327, 328, and 332) that are
currently referred to United States Magistrate Judge Andrew Austin are
WITHDRAWN.


         IT IS SO ORDERED.
         DATED: Austin, Texas, February 12, 2020.



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                                            DAVID A. EZRA
                                            SENIOR U.S. DISTRICT JUDGE
